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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            TAMPA DIVISION

                                           CLERK’S MINUTES

 CASE NO.:         8:21-cr-269-WFJ-MRM                 DATE:    September 26, 2022

 HONORABLE WILLIAM F. JUNG




 UNITED STATES OF AMERICA                              GOVERNMENT COUNSEL
                                                       Jay G. Trezevant, AUSA
 v.
                                                       DEFENSE COUNSEL
 RALPH PUGLISI                                         Anthony Biagio Rickman, Retained

 COURT REPORTER: Tracey Aurelio                        DEPUTY CLERK:       Caleb Houston

                                                       COURTROOM:          15B
 TIME: 10:12 AM – 11:00 AM
 TOTAL: 48 Minutes
                                                       PROBATION:          Wilmarisa Martinez


PROCEEDINGS:             CRIMINAL MINUTES – SENTENCING REFORM ACT MINUTES

Court called to order.

Counsel identified for the record.

Defendant sworn.

Defendant is adjudged guilty on Count One of the Information.

Government counsel addressed the Court.

Defense counsel addressed the Court.

10:12 AM     Defense Witness: Dr. Valerie McClain (Sworn)
             Direct Examination by Mr. Rickman.
             Witness excused.

Defendant addressed the Court.

Imprisonment: ONE HUNDRED TWENTY (120) MONTHS.
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Supervised Release: THREE (3) YEARS.

Fine is waived.

Restitution: $12,860,744.07 (See Criminal Monetary Penalties section of the Judgment for details).

While in the Bureau of Prisons custody, the defendant shall either (1) pay at least $25 quarterly if the
defendant has a non-Unicor job or (2) pay at least 50% of his monthly earnings if the defendant has a
Unicor job. Upon release from custody, the defendant shall make monthly payments of no less than
$100.00 and this payment schedule shall continue until such time as the Court is notified by the
defendant, the victim or the government that there has been a material change in his ability to pay.

Special Assessment: $100.00 to be paid immediately.

Special conditions of supervised release:

1. Defendant shall participate in a mental health treatment program (outpatient and/or inpatient) and
   follow the probation officer’s instructions regarding the implementation of this court directive. Further,
   Defendant shall contribute to the costs of these services not to exceed an amount determined
   reasonable by the Probation Office’s Sliding Scale for Mental Health Treatment Services.

2. Defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, or
   obligating himself/herself for any major purchases without approval of the probation officer.

3. Defendant shall provide the probation officer access to any requested financial information.

Defendant is to cooperate in the collection of DNA as instructed by the Probation Officer.

The mandatory drug testing provisions of the Violent Crime Control Act are suspended. However, the
Court orders Defendant to submit to random drug testing not to exceed 104 tests per year.

The Court makes the following recommendations to the Bureau of Prisons:

   •   Defendant be incarcerated at the lowest possible custody available, or Coleman FCI.

Defendant shall surrender to the designated institution as notified by the US Marshal.

Defendant advised of right to appeal and to counsel on appeal.

Final Forfeiture ordered by the Court. Forfeiture order is made a part of the Judgment.
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              GUIDELINE RANGE DETERMINED BY THE COURT AT SENTENCING


             Total Offense Level            28

             Criminal History Category:     I

             Imprisonment Range             78-97 months

             Supervised Release Range       1-3 years

             Restitution:                   $12,860,744.07

             Fine Range                     $25,000.00 - $25,721,488.14

             Special Assessment             $100.00

Adjustments/changes to the PSR: Court adjourned.
